CaS€ 8-18-76805-&8'[ DOC 13-1 Filed 11/16/18 Entered 11/16/18 15202231

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

AFFIDAVIT OF SERVICE

In Re: Case No.: 18-76805-ast
(Chapter 13)
Michael W. McCorrnack
Assigned to:
Hon. Alan S. Trust
Debtor Bankruptcy Judge

 

STATE OF NEW YORK )
COUNTY OF ERIE ) SS:
CITY OF BUFFALO )

Maria Dabney, being duly sworn, deposes and says that he/she is over eighteen years of age and resides in
Buffalo, New York.

That on Novernber 16, 2018, deponent served the Within Objection to Confirmation by depositing a true
copy thereof, properly enclosed in a securely closed and duly post paid Wrapper in a depository regularly
maintained by the United States Postal Service in the City of Buffalo, New York, directed as follows:

Michael W. McCorrnacl< Debtor
36 Abrew Street
Bay Shore, NY 11706

Cooper J. Macco, Esq. Debtor Attorney
2950 Express Drive South, Suite 109
Islandia, NY 1 1749

Marianne DeRosa Chapter 13 Trustee
125 Jericho Turnpike, Suite 105
Jericho,NY11753-1016

U.S. Trustee U.S. Trustee
560 Federal Plaza, Suite 560
Central Islip, NY 11722

Kll' tllwti< lab

Maria Dabney

Sworn to before me this 16‘h day
ofNovernber, 2018

§§// §§ §§

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Notary Public NoTAnv PuBLlc, sTATE oF NEW YonK
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